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                                                  U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Jacob K. Javits Federal Building
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     November 8, 2024


BY ECF
Honorable Ronnie Abrams
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

      Re:     United States v. Darius Paduch, S2 23 Cr. 181 (RA)

Dear Judge Abrams:

       The Government writes to supplement its letter of November 6, 2024 (Dkt. 172). The
Government learned today of another individual who wishes to address the Court at sentencing,
which is scheduled for November 20, 2024. The victim is the mother of B.B., 1 who was abused
as a minor under the defendant’s care. Although B.B. was not a statutory victim named in the
above-captioned Indictment, the Government respectfully submits that B.B. is a “victim” as
defined by the Crime Victims’ Rights Act and that his mother should be permitted to speak at
sentencing.



                                              Very truly yours,

                                              DAMIAN WILLIAMS
                                              United States Attorney



                                          by: _____________________________
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1
    B.B. was identified as Victim-25 in the Government’s motions in limine. (Dkt. 74).
